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                                        ORDERED.
 Dated: August 12, 2024




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

IN RE:
         GENIE INVESTMENTS, NV, INC.
                                                              CASE NO.:3:24-bk-00496-BAJ
                                 Debtor(s).


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 ORDER OVERRULING DEBTOR’S OBJECTION TO CLAIM 4 OF BELLE MAISON
                REALTY, LLC WITHOUT PREJUDICE

         The case came upon the Court on August 8, 2024 for the Debtor’s Objection to Claim 4 of

Belle Maison Realty, LLC (Doc No. 135) and upon the response of the creditor at Doc. No. 159.

At the hearing, it is

         ORDERED:

         1.) The Objection to claim 4 of Belle Maison Realty, LLC (Acct No.: “0000”) is overruled

            without prejudice.

         2.) The Chapter 7 Trustee may file an objection at a later date.

Bryan K. Mickler, Attorney for Debtor, is directed to serve a copy of this Order to interested parties
and file proof of service within three (3) days of entry of the Order.
